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          EXHIBIT A
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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

FLORIDA DECIDES
HEALTHCARE, INC., et al.

  Plaintiffs,

v.
                                             NO.
CORD BYRD, in his official capacity
as Secretary of the State of Florida, et
al.

  Defendants.



     DECLARATION OF MITCHELL EMERSON IN SUPPORT OF
  PLAINTIFFS’ COMPLAINT FOR INJUNCTIVE AND DECLARATORY
                          RELIEF

       Pursuant to 28 U.S.C. § 1746, I, Mitchell Emerson, declare as follows:

      1.        I am competent to make this declaration.

      2.        I serve as the Campaign Manager of Florida Decides Healthcare, Inc.

(“FDH”), a Florida 501(c)(4) non-profit corporation with a principal place of

business, office, and registered agent in Miami, Florida.

      3.        FDH was established in February 2024 for the purpose of expanding

access to affordable, high-quality healthcare for 1.4 million Floridians, particularly

low-income and underserved communities.


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      4.    FDH is currently sponsoring a citizens’ initiative for the 2026 general

election that would expand eligibility for Medicaid in Florida pursuant to the

Affordable Care Act, championing healthcare rights for Florida’s working families.

      5.    I am a Florida resident and registered voter who has signed a petition for

the proposed amendment.

      6.    The amendment, “Provide Medicaid Coverage to Eligible Low-Income

Adults” (“the Amendment”) establishes Article X, Section 33 of the Florida

Constitution, and is summarized as follows:

      “Requires State to provide Medicaid coverage to individuals over age 18 and
      under age 65 whose incomes are at or below 138 percent of the federal poverty
      level and meet other nonfinancial eligibility requirements, with no greater
      burdens placed on eligibility, enrollment, or benefits for these newly eligible
      individuals compared to other Medicaid beneficiaries. Directs Agency for
      Health Care Administration to implement the initiative by maximizing federal
      financial participation for newly eligible individuals.”

      7.    Our stated mission is to “let voters decide whether Florida should expand

Medicaid, bring billions of our tax dollars home, increase jobs, grow our economy,

and provide access to care to over 1 million people.”

      8.    More than three-fourths of those polled by the Mason-Dixon Polling &

Strategy between March 27 and March 30, 2023, supported expanding Medicaid.

Seven states have used ballot initiatives to expand Medicaid, including South Dakota

in 2022.




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      9.     Our proposed Amendment is currently supported by a diverse coalition

of policy experts, healthcare providers, patient advocates, employee associations, and

directly impacted individuals.

      10.    In order for our proposed Amendment to qualify for the 2026 general

election ballot, we must submit the required number of signatures, and have the

signature verification process completed, no later than 5:00 p.m. on February 1, 2026.

Our petition must be signed by 880,062 voters and the signatures must come from a

number of electors in each of one half of the congressional districts of the state, and

of the state as a whole, equal to eight percent of the votes cast in each of such districts

respectively and in the state as a whole in the last preceding election in which

presidential electors were chosen.


      11.    Given the scope and complexity of the process for qualifying a proposed

constitutional amendment for the ballot, and as further explained below, we have been

collecting signatures since last year.

      12.    FDH utilizes multiple methods to collect petitions in Florida and meet the

stringent requirements for ballot qualification.

      13.    We currently employ 250 paid petition circulators throughout the State of

Florida, with plans to scale up to 3,000 petition circulators by September 2025. It is

unknown exactly how many individuals are collecting petitions on our behalf, but we

partner with a broad network of grassroots organizations who collect petitions on a
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volunteer basis. Consistent with current petition circulator requirements, FDH has

hired petition circulators that are not residents of Florida, petition circulators that are

not U.S citizens, and petition circulators that have felony convictions.

      14.    Petition circulators are stationed in various locations throughout the state

and work diligently to talk about the initiative with individuals and, if they are eligible

Florida voters who support the initiative and want to sign the petition, assist them with

signing the forms.

      15.    We also encourage Floridians to complete the petition form on their own

time and either mail the signed form to our Jacksonville office or drop it off in person

at one of 46 designated “hub” locations throughout the state. Blank petition forms are

also available for pickup at these locations. To make the process even more accessible,

we provide blank petition forms on our website in English, Spanish, and Haitian

Creole. Voters may download the form, complete their personal information, and

return the signed petition by mail or in person.

      16.    In addition, we have allowed Floridians to request a pre-filled petition

form through our partner organization, TallyEd. Using the TallyEd platform, voters

can search for their registration records and have a petition form automatically

generated with certain fields pre-filled. They are then given the option to: (1) receive

the petition by email to print, sign, date, and return themselves; (2) receive the petition

by mail if they do not have access to a printer, and sign, date, and return it; or (3)

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decline to sign the petition altogether. In order to substantially comply with the

provisions of House Bill 1205, we have since removed this option from our website.

      17.    FDH has invested substantial time, money, and organizational resources

into the development, promotion, and signature-gathering for the initiative. These

efforts have already been hampered by shifting state requirements and guidance.

      18.    After the Florida Department of State issued new guidance on August

2024, FDH was forced to forego some signatures, and we lost months on critical

organizing time and were compelled to rebuild momentum from scratch.

      19.    As of May 4, 2025, we have collected over 100,000 signed petitions.

      20.    The passage of House Bill 1205—in the middle of our ongoing petition

collection effort—has made this process even more difficult. As a result, we face the

real and imminent threat of being unable to continue our operations.

      21.    On Wednesday, April 30, in anticipation of the passage of House Bill

1205, paid petition outreach firms were shut down. During this time, petition

collection activities must pause and emergency calls to teams have already been

necessary. This time is being used to ensure circulators are in compliance with the new

law. As of May 4, these collection activities are still on hold.

      22.    We are concerned about the impact of the new requirements, including

the reduced return deadline for signed petitions, on our ability to effectively circulate

petitions throughout the state.

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      23.    Prior to the passage of House Bill 1205, under the 30-day framework for

returning petitions, we batch petitions weekly and put each batch through multiple

internal quality control processes. Those batches are then sorted and mailed to the

appropriate counties. Each county has a different submission method, and we must

accommodate and account for each. For example, some counties use P.O. Boxes rather

than physical addresses for receipt of petitions, and it can be difficult to confirm

delivery.

      24.    The new 10-day return rule on House Bill 1205 forces us to ship smaller

batches more frequently, often on a daily basis, to account possible rejections and

returns, as well as the varying submission methods. To comply, we would be required

to use expedited or overnight delivery services, which are substantially more

expensive and less reliable over time.

      25.    Further, the tightened return deadline is an added strain on our internal

processes, undermining the systems we’ve built to ensure petition integrity, and

forcing us to divert limited resources away from outreach and signature collection to

cover the escalating costs of compliance.

      26.    Also, the House Bill 1205’s requirement that the supervisors of elections

cease signature verifications from July 1, 2025 to September 30, 2025, in the middle

of our ongoing petition drive and require expiration of petition circulators would cause

substantial hardship and, possibly, the ability of our organization to collect sufficient

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signatures to continue to operate. During the 90-day period where verifications would

cease, we would not be able to track petitions or demonstrate progress towards certain

thresholds.

      27.     House Bill 1205 also imposes new and significant fines and criminal

liability for both petition sponsors and circulators. These steep and uncapped fines,

and criminal penalties, will further impact our ability to hire petition circulators,

reduce the number of volunteers who are willing to engage in petition circulator

efforts, and shut down our operations.

      28.     The new law limits who we can hire to collect signed petition forms,

prohibiting us from hiring anyone who is not a Florida resident, is not a U.S. citizen,

or has a felony conviction. As a result of this new law, we would be required to

terminate any employees who do not meet these requirements. We would also need to

spend significant resources to ensure we are in compliance.

      29.     These restrictions would seriously affect our ability to recruit and hire

petition circulators. We have already received direct feedback from our circulators

expressing fear and hesitation about circulating petitions due to House Bill 1205’s

penalties, fines and new registration requirements. This is affecting our ability to

engage in petition collection activity, disrupting our ongoing petition effort, affecting

hundreds of employees, and imposing substantial costs.



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       30.    House Bill 1205 imposes various kinds of liability on FDH for the actions

of volunteer circulators. But FDH is not aware of all individuals who may choose to

circulate its petitions. The law therefore creates unclear and potentially very significant

liability for unknown volunteer circulators, causing confusion and deterring our

petition collection efforts.

       31.    FDH works diligently to comply with Florida law and self-reports any

known discrepancies in petitions. However, House Bill 1205 creates confusion about

what can and cannot be included on petition forms, impacting our ability to sponsor

our initiative for fear of breaking the rules and being penalized.

       32.    FDH cannot afford to risk paying the severe and potentially ruinous fines

threatened by the Law.

       33.    As campaign manager for FDH, one of my responsibilities is fundraising

to support the petition process. I am aware that current and potential donors to FDH

have expressed serious concerns about the effect of HB 1205 on the ability to qualify

our proposed amendment for the ballot, including the fact that if the State assigns a

financial impact statement that is later rejected, it will force FDH to refile a new

petition and start the process over again entirely. Even before HB 1205 became law, it

negatively affected our efforts to raise the funds necessary to qualify our amendment

for the ballot.




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      34.    House Bill 1205 will ultimately force FDH to impose an extended

moratorium on its petition circulation activities, severely impacting or eliminating the

ability to circulate petitions and gain sufficient support for the placement of its

initiative on the 2026 general election ballot.

      35.    On May 4, pursuant to 28 U.S.C. § 1746, I declare under penalty of

perjury the foregoing is true and correct.




                                                           _____________________
                                                           Mitchell Emerson
                                                           Campaign Manager
                                                           Florida Decides
                                                           Healthcare, inc.




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